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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  UNiTED STATES OF AMERICA,                                     10 CR 579-01 (SRC)


          -against-

  STEPHEN P. ARENA,

                 Defendant.
             —---—
                                   —       x

                              STIPULATION AND CONSENT ORDER

         iT IS HEREBY STIPULATED BY defendant, STEPHEN P. ARENA, through his

  attorney, Nicholas G. Kaizer, and the Government, by Assistant United States Attorney Anthony

  Moscato, Jr., that the terms of the September 21, 2011 Appearance Bond entered in the above-

  captioned matter by the Hon Esther Salas, U.S.M.J., restricting STEPHEN P. ARENA’s pretrial

  travel to New York and New Jersey are hereby modified to permit his travel by car to Florida

  between May 4 through 14, 2011 for purposes of attending a convention related to his

  employment.

         STEPHEN P. ARENA, through counsel, represents and agrees that beginning on May 4,

  2011, he will arrive (accompanied by his wife> at the Trade Winds Resort in St. Pete Beach

  Florida. His union duties will extend until May 14, when he will return to New York.

         Arena will also provide any additional information relative to his planned travel or stay in

  Florida as may be deemed appropriate by his Pretrial Services Officer.
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          None of the other terms. conditions or restriction on Mr. Arena’s pretrial
                                                                                         release are
   modified by this Stipulation and Order.

   Dated: April       201 I




                                        By:
                                               Nicholas G. Kaizer, Esq.
                                               Levitt & Kaizer
                                               Attorneys at i.aw
                                               40 Fulton Street, 23’’ Floor
                                               New York. New York 10038-5077
                                               Phone: (212) 4S0-4000
                                               Fax: (212)480-4444
                                               Email: nkaizerivJandkIaw,com
                                               Aiwrne.cJbr Slcplien P. Arena




                                              Anthony Moscato, Jr.
                                              Office of the United States Attorney
                                              District of New Jersey
                                              970 Broad Street, Ste, 700
                                              Newark, NJ 07102


                                              SO ORDERED this/           day of April, 2011.




                                                          .R. CFIESLER
                                              United States District Judge
